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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK




 SKY GLOBAL LLC,


                         Plaintiff,                       Civil Action No.


                                                          NOTICE OF FILING OF NOTICE OF REMOVAL
-   against   -




                                                          Erie County

WILLIAM NOBLE                                             Index No.   806234/2018
And
WILLIAM NOBLE RARE JEWELS, LP,

                             Defendants.



        PLEASE TAKE NOTICE that Removing Parties, William Noble and William Noble Rare Jewels LP,
Defendants in this action, have filed a Notice of Removal of this action from the Supreme Court of the State of
New York, County of Erie to the United States District Court for the Western District of New York. A copy of the
Notice of Removal, dated June 1, 2018, which was filed in the Office of the Clerk for the United States District
Court for the Western District of New York on June 1, 2018, is attached.

Dated: June 1,    2018




                                               Jason H. Friedman Z
                                               State Bar No. 54258W
                                               jhfriedman@fflawoffice.com

                                               Friedman & Feiger, LLP
                                               5301  Spring Valley Road, Suite   200
                                               Dallas, Texas 75254
                                               p. 972.788.1400
                                               f. 972.788.2667

                                               Attorney for Defendants
TO:
CLERK OF THE SUPREME COURT
OF THE STATE OF NEW YORK,
COUNTY OF ERIE
                  Case 1:18-cv-00629 Document 1 Filed 06/01/18 Page 2 of 2




Amanda L. Lowe, Esq.
125 Main Street
Buffalo, New York 1 4203-2887
Attorney for Plaintiff
(Copy ofNotice ofRemoval Attached]




                                          CERTIFICATE OF SERVICE

        I certify that on June 1, 2018, I did serve a true copy of the attached Notice of Filing of Notice of Removal
together with a copy of the Notice of Removal mentioned in such Notice of Filing of Notice of Removal, on
Amanda L. Lowe, Esq. attorney of record for Plaintiff, Sky Global, LLC, in the above-entitled action, by ECF,
email and causing such documents to be plçç jiitheJJnjd States Mail, first-class postage prepaid, sealed, and
addressed to 125 Main Street, Buffa , ew York 1 4203-288

Dated: June 1,   2018

                                 Jason H. Friedman
